  Case 20-67784-jwc        Doc 42    Filed 12/22/21 Entered 12/22/21 13:53:07            Desc Main
                                     Document      Page 1 of 3

                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

       IN RE:                                       :       CHAPTER 13
       DARWIN G. FLORES                             :
                                                    :       CASE NO.: A20-67784-JWC
              DEBTOR                                :

         TRUSTEE’S MOTION TO CONVERT CASE TO ONE UNDER CHAPTER 7

       COMES NOW, NANCY J. WHALEY, Standing Chapter 13 Trustee in the above-referenced
matter, and files this Motion to Convert Case to One Under Chapter 7. The Trustee respectfully shows
the Court the following:
                                                  1.
       The Debtor filed for relief under Chapter 13 of Title 11 on July 2, 2020. The case was
confirmed on February 4, 2021. The plan, as proposed, provides for payments of $1230.00 per month
and a one hundred percent (100%) dividend to unsecured creditors.


                                                  2.
       The Debtor’s mortgage holder, NewRez LLC d/b/a Shellpoint Mortgage Servicing (hereinafter
“NewRez”), filed a Motion for Relief from the automatic stay on November 2, 2021 on property located at
5598 Charman Bend, Norcross, Georgia 30093 (hereinafter “the property”).


                                                  3.
       The Debtor scheduled an ownership interest in the property. The current fair market value of the
property is $239,500.00 and the unpaid principal balance owed on the first mortgage is approximately
$129,900.00. The Debtor has claimed an exemption against the property of $21,500.00 pursuant to
O.C.G.A §44-13-100(a)(1), leaving unexempted equity in the property of $88,100.00.


                                                  4.
       As of the date of this motion, unsecured creditors have filed claims totaling $26,669.59.
   Case 20-67784-jwc         Doc 42     Filed 12/22/21 Entered 12/22/21 13:53:07              Desc Main
                                        Document      Page 2 of 3

                                                        5.
        The Trustee argues it is necessary to convert this case to one under Chapter 7 so to allow the
Chapter 7 Trustee to administer the property of the estate and assure the adequate protection of unsecured
creditors via liquidation of the Debtor’s real property. Allowance of the stay to be lifted so to permit
NewRez to foreclose upon the property does not adequate protect unsecured creditors as the value realized
from such a sale is likely to be substantial diminished.


                                                        6.
        Pursuant to 11 U.S.C. §1307(c)(6), the Court may convert a case under Chapter 13 to one under
Chapter 7, or dismiss the case, whichever is in the best interest of creditors, based upon a “material default
by the debtor with respect to a term of a confirmed plan.” The Debtor has failed to maintain the payments
to NewRez as provided under the terms of the confirmed plan, and thus a material default has occurred. It
is in the best interests of creditors to convert rather than dismiss for the reasons already specified by the
Trustee. NewRez is adequately protected by the equity that does exist in the property and the fact that any
eventual sale should satisfy their lien in full.


        WHEREFORE the Trustee prays that this Chapter 13 case be converted to one under Chapter 7 and
that a Chapter 7 Trustee be appointed for administration of the Debtor’s estate. The Trustee prays that the
filing fee not be paid until the Court hears this matter and if the case is converted to one under Chapter 7
that the Trustee be permitted to pay the fee with available funds in the Debtor’s case.

                                                   Respectfully submitted,

                                                   _/s/________________________
                                                   Julie M. Anania,
                                                   Attorney for Chapter 13 Trustee
                                                   GA Bar No. 477064
                                                   303 Peachtree Center Ave., NE
                                                   Suite 120
                                                   Atlanta, GA 30303
                                                   (678) 992-1201
/mep
  Case 20-67784-jwc       Doc 42       Filed 12/22/21 Entered 12/22/21 13:53:07        Desc Main
                                       Document      Page 3 of 3

                                   CERTIFICATE OF SERVICE

Case No: A20-67784-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Motion to Convert This Case to one Under Chapter 7 and Notice of Hearing by depositing in
the United States mail a copy of same in a properly addressed envelope with adequate postage thereon.


Debtor(s):                                          Creditor Attorney:
DARWIN G. FLORES                                    LISA F. CAPLAN, ESQ.
5598 CHARMAINE BND                                  RUBIN LUBLIN, LLC
NORCROSS, GA 30071                                  3145 AVALON RIDGE PLACE, SUITE 100
                                                    PEACHTREE CORNERS, GA 30071

Office of the U.S. Trustee:                         Creditor:
OFFICE OF THE UNITED STATES TRUSTEE                 NEWREZ, LLC D/B/A SHELLPOINT MTG
R. JENEANE TREACE                                   P.O. BOX 10826
ASSISTANT UNITED STATES TRUSTEE                     GREENVILLE, SC 29603-0826
362 RICHARD RUSSELL BLDG. & U.S. CTHS.
75 TED TURNER DRIVE, S.W.
ATLANTA, GA 30303



By Consent of the parties, the following have received an electronic copy of the foregoing Chapter 13
Trustee's Motion to Convert This Case to one Under Chapter 7 and Notice of Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):

THE SEMRAD LAW FIRM, LLC


This the 22nd day of December, 2021.


/s/____________________________________
Julie M. Anania
Attorney for the Chapter 13 Trustee
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Atlanta, GA 30303
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